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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


 NANCY GIMENA HUISHA-HUISHA, et
 al.,

                  Plaintiffs,

 v.                                     Civ. Action No. 21-100(EGS)


 ALEJANDRO MAYORKAS, in his
 official capacity as Secretary
 of Homeland Security, et al.,

                  Defendants.


                                  ORDER

      For the reasons stated in the accompanying Memorandum

Opinion, it is hereby

      ORDERED that Plaintiffs’ Motion for Class Certification is

GRANTED; and it is further

      ORDERED that the Court certifies a class pursuant to Rules

23(a) and 23(b)(2) of the Federal Rules of Civil Procedure

consisting of all noncitizens who: (1) are or will be in the

United States; (2) come to the United States as a family unit

composed of at least one child under 18 years old and that

child’s parent or legal guardian; and (3) are or will be

subjected to the Title 42 Process; and it is further

      ORDERED that Plaintiffs Nancy Gimena Huisha-Huisha and her

minor child I.M.C.H.; Valeria Macancela Bermejo and her minor


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daughter, B.A.M.M.; Josaine Pereira-De Souza and her minor

children H.N.D.S.; E.R.P.D.S.; M.E.S.D.S.; H.T.D.S.D.S.; Martha

Liliana Taday-Acosta and her minor children D.J.Z.; J.A.Z.;

Julien Thomas, Fidette Boute, and their minor children D.J.T.-

B.; T.J.T.-B.; and Romilus Valcourt, Bedapheca Alcante, and

their minor child, B.V.-A., are appointed as Class

Representatives; and it is further

     ORDERED that ACLU Immigrants’ Rights Project is appointed

Lead Class Counsel, and the Texas Civil Rights Project, the ACLU

of Texas, the ACLU of the District of Columbia, the Refugee and

Immigrant Center for Legal Education and Legal Services

(RAICES), the Center for Gender & Refugee Studies, and Oxfam

America are appointed as Class Counsel; and it is further

     ORDERED that Defendants’ Motion for Oral Argument is

DENIED; and it is further

     ORDERED that Plaintiffs’ Motion for Preliminary Injunction

is GRANTED; and it is further

     ORDERED that, pursuant to this Order, Defendants are HEREBY

ENJOINED from applying the Title 42 Process, including the CDC’s

August 2021 Order, to the Class Members; and it is further

     ORDERED that this Order shall be stayed for 14 days from

the date of its entry; and it is further




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     ORDERED that any request to stay this Order pending appeal

will be denied for the reasons stated in the accompanying

Memorandum Opinion.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          September 16, 2021




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